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          Exhibit F
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                                                                                                              US010819809B2

  ( 12 ) Diem
         United States Patent                                                          ( 10) Patent No .: US 10,819,809 B2
                                                                                       (45) Date of Patent :    Oct. 27 , 2020
  ( 54 ) METHOD FOR CONTROLLING                                                   ( 56 )                       References Cited
        CONVEYANCE OF EVENT NOTIFICATIONS
        IN SUB -GROUPS DEFINED WITHIN                                                                      U.S. PATENT DOCUMENTS
        GROUPS BASED ON MULTIPLE LEVELS OF                                                    5,223,844 A       6/1993 Mandell et al .
        ADMINISTRATIVE PRIVILEGES                                                             5,263,158 A      11/1993 Frederick
  ( 71 ) Applicant: Perdiem Co LLC , Marshal, TX (US )                                                           (Continued )
                                                                                                    FOREIGN PATENT DOCUMENTS
  ( 72 ) Inventor : Darrell Diem , Madison, AL (US )
                                                                                  EP                     1720370 A1      11/2006
  ( 73 ) Assignee : Perdiemco , LLC , Marshall, TX (US )                          WO                  1990013186         11/1990
  ( * ) Notice :     Subject to any disclaimer, the term of this                                                 (Continued )
                     patent is extended or adjusted under 35                                                OTHER PUBLICATIONS
                     U.S.C. 154 ( b ) by 0 days.
                                                                                  Geotab's Initial Invalidity Contentions, Nov. 20 , 2015 , filed in the
  ( 21 ) Appl. No .: 16 /828,728                                                  U.S. District Court for the Eastern District of Texas, Marshall
                                                                                  Division .
  (22 ) Filed :      Mar. 24 , 2020                                                                              ( Continued )
  ( 65 )             Prior Publication Data                                       Primary Examiner Congvan Tran
         US 2020/0228985 A1     Jul . 16 , 2020                                   (74 ) Attorney, Agent, or Firm — Vector IP Law Group ;
                                                                                  Robert Babayi
               Related U.S. Application Data                                      ( 57 )                        ABSTRACT
  ( 60 ) Continuation of application No. 16/ 547,408 , filed on                   An improved system and method for defining an event based
         Aug. 21 , 2019 , now Pat . No. 10,602,364 , which is a                   upon an object location and a user- defined zone and man
                                                                                  aging the conveyance of object location event information
                           (Continued )                                           among computing devices where object location events are
                                                                                  defined in terms of a condition based upon a relationship
  (51 ) Int. Ci .                                                                 between user -defined zone information and object location
        H04W 12/08               ( 2009.01)                                       information . One or more location information sources are
        H04L 29/08               ( 2006.01 )                                      associated with an object to provide the object location
                          ( Continued )                                           information . One or more user - defined zones are defined on
  (52) U.S. Cl.                                                                   a map and one or more object location events are defined .
       CPC             H04L 67/18 (2013.01 ) ; G06F 16/9535                       The occurrence of an object location event produces object
                         (2019.01 ) ; H04L 63/083 ( 2013.01 ) ;                   location event information that is conveyed to users based
                          ( Continued )
                                                                                  on user identification codes . Accessibility to object location
                                                                                  information, zone information , and object location event
  ( 58 ) Field of Classification Search                                           information is based upon an object location information
         CPC H04W 12/08 ; H04W 4/029 ; G06F 16/9535 ;                             access code , a zone information access code, and an object
                          HO4L 63/083 ; H04L 63/101 ; H04L                        location event information access code , respectively .
                                                                63/105
         See application file for complete search history .                                     20 Claims , 21 Drawing Sheets
                                                Assocate User identication Codes with Computing Devices
                                                   Associate location roomotox Source wios on Objed

                                          402    Associate Objeciiocation Intymation Access Code with
                                                    Dect location       matex Relaungkol Object

                                                 Convey Object location iniciation to computing Devices
                                                Based upon Object iocation tritonavion Access Code and
                                                                Use : entificator: Codes

                                                               Dotine 3 User - defined Zone

                                          309
                                                 Deine an Object Location Event Relating Object location
                                                       Information to Viser - dolineo 70 brorraad

                                                  Detentne an Occurrence of the Obieci location Eveni

                                                  Covey Obed Location Event information to Computing
                                                     Devices Based Upon User identication Codes




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  Marshall Division .                                                        Marshall Division .
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  Marshall Division .                                                        Texas, Marshall Division .
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  Marshall Division .                                                        Texas, Marshall Division .
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  Web Tech Wireless, Inc. , WebTech Wireless Web Tech 5000 Locator           in the U.S. District Court for the Eastern District of Texas, Marshall
  ( 2004 ) .                                                                 Division .
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  Web Tech Wireless, Inc. , WebTech Wireless Quadrant Services               in the U.S. District Court for the Eastern District of Texas, Marshall
  Portal (Nov. 3 , 2005 ) , available at https://web.archive.org/web/        Division .
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  htm (visited Nov. 16 , 2015) .                                             * cited by examiner




                                                                                                                                                Exhibit F
                                                                                                                                            Page 10 of 44
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                                126
                                                                  126a

                  1261 1146             120b



                       O
                   1223


                     ********                                               1260
                                                     serye
                                                           126d
             O                                             120a




                                      FIG . 1




                                                                                       Exhibit F
                                                                                   Page 11 of 44
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                                                                200




     3
                    2


     ?
     *




     **
                                           0                            206




                                     22                               202




                                 FIG . 2




                                                                            Exhibit F
                                                                        Page 12 of 44
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    302
          Associate User identification Codes with Computing Devices

             Associate Location Information Source with an Object

                          Define a User -defined Zone

                                           -T
           Define an Object Location Event Relating Object Location
                  Information to User -define Zone Information


            Determine an Occurrence of the Object Location Event

            Convey Object Location Event Information to Computing
                Devices Based Upon User identification Codes




                                       FIG . 3




                                                                                 Exhibit F
                                                                             Page 13 of 44
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   302
          Associate User Identification Codes with Computing Devices

             Associate Location Information Source with an Object
   402      Associate Object Location Information Access Code with
               Object Location Information Relating to the Object

           Convey Object Location Information to Computing Devices
           Based Upon Object Location Information Access Code and

                          Define a User- defined Zone


            Define an Object Location Event Relating Object Location
                  Information to User-defined Zone Information


             Determine an Occurrence of the Object Location Event
                                      I
            Convey Object Location Event Information to Computing
                 Devices Based Upon User Identification Codes




                                                                                 Exhibit F
                                                                             Page 14 of 44
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   302
          Associate User identification Codes with Computing Devices

             Associate Location Information Source with an Object

                          Define a User- defined Zone


            Associate a User -defined Zone Information Access Code
              with Corresponding User-defined Zone Information

              Convey User -defined Zone Information to Computing
             Devices Based Upon a User-defined Zone Information
                  Access Code and User Identification Codes


            Define an Object Location Event Relating Object Location

             Determine an Occurrence of the Object Location Event

            Convey Object Location Event Information to Computing
                 Devices Based Upon User identification Codes




                                                                                Exhibit F
                                                                            Page 15 of 44
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          Associate User Identification Codes with Computing Devices

             Associate Location Information Source with an Object        42

            Define an Object Location Event Relating Object Location
                  Information to User -defined Zone Information

   602
           Associate Object Location Event Information Access Code
             With Object Location Event Information Relating to the
                             Object Location Event

             Determine an Occurrence of the Object Location Event

            Convey Object Location Event Information to Computing
            Devices Based Upon Object Location Event Information




                                    FIG . 6




                                                                                  Exhibit F
                                                                              Page 16 of 44
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          Associate User Identification Codes with Computing Devices
                                                                          ta:

             Associate Location Information Source with an Object

           Associate Object Location Information Access Code with
              Object Location Information Relating to the Object

           Convey Object Location Information to Computing Devices
           Based Upon Object Location Information Access Code and
                           User Identification Codes

   306
                          Define a User-defined Zone

           Associate a User-defined Zone Information Access Code
              with Corresponding User -defined Zone Information

             Convey User-defined Zone Information to Computing
             Devices Based Upon a User- defined Zone Information
                  Access Code and User Identification Codes

           Define an Object Location Event Relating Object Location
                 Information to User-defined Zone Information

           Associate Object Location Event Information Access Code
             with Object Location Event Information Relating to the
                             Object Location Event

            Determine an Occurrence of the Object Location Event

           Convey Object Location Event Information to Computing       FIG . 7
            Devices Based Upon Object Location Event Information
                  Access Code and User Identification Codes



                                                                                    Exhibit F
                                                                                Page 17 of 44
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             Application Launch Screen
                                          = > 46233
                                      T                   zo


                                     FIG . 8
                        Main Screen
                               ta           Y4€ 3:36

                      Perdana                             62
                            Groups




                                     FIG . 9


                                                                           Exhibit F
                                                                       Page 18 of 44
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               Configuration Screen
                              re



                       2222                   Logo



                       1009 MAYIS




                                              exe



                                   FIG . 10

                         GPS Screen
                       PeroDromoGPS Wii 424
                    Locale                               AL

                     Sotelo
                                                 Stop



                                   FIG . 11


                                                                              Exhibit F
                                                                          Page 19 of 44
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                 Tracking Setup Screen
                                      615W   $ 425

                           8
                                                             200

              1202              SWORD



                                  FIG . 12a

               Log File Selection Screen
                               Diemco GPSG927




                                                berta
                                                 4.27 6:23




                                  FIG . 12b


                                                                              Exhibit F
                                                                          Page 20 of 44
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                          Map Screen
                                       W 71141




                                       Huntsville


            1302


                                   FIG . 13a

                          Data Screen
                          TRACKING         - 4243
                                               ?

                                                             SAS


                                             Belate
                              20

                         00
                              2008 A3 BLUE




                                                   ut cose
                                   FIG . 13b


                                                                             Exhibit F
                                                                         Page 21 of 44
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                     Zone Screen
                                      ***
                                                         Ionas




                          FIG . 13c

                     Size Screen
                  TRACA   he         * * 113
                                                             1308
                                                       104




                          FIG . 13d


                                                                                    Exhibit F
                                                                                Page 22 of 44
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                    About Screen
                                     *** 17
                    Tak     przylates




                   10
                           FIG . 13e




                                                                       Exhibit F
                                                                   Page 23 of 44
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                  Group Screen
                       tact          W Y      0:44



                                 DA PAS

                   Buty Rent     Ve Sa




                                                     *


                              FIG . 14
                 Contact Screen
                                     * Y 257
                                          *
                   Hyattikoteli s Embarcadero

                                           TISET



                                     Address 1




                                             ose



                               FIG . 15


                                                                            Exhibit F
                                                                        Page 24 of 44
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                   Camera Screen
                     WA              W ** 48 4:23




                             FIG . 16

                Big Buttons Screen
                    fo               W 7 * 132
                                                         HE




                          OK BEE            OSE




                              FIG . 17


                                                                              Exhibit F
                                                                          Page 25 of 44
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              Map Viewer Web Page




          VEBER Login


          VEMBER Logout

                              FIG . 18




                                                                      Exhibit F
                                                                  Page 26 of 44
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  CVoWPinteawcgbtre HitEexstapfo                       PCeVrfodinsletopwamcyrting                                                       FIG
                                                                                                                                        19
                                                                                                                                        .

                                                                                                 PeClIDanoActnoesadcrtes
                       PormesaeView         Lano




                                                                                                                                           Exhibit F
                                                                                                                                       Page 27 of 44
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         20 0
                                 XS




                                                           e



                                                                    be

   GPSTandZDraockntieag                                                                 FIG
                                                                                        .
                                                                                        20

                                                   Stars

                                                             a
                          BACA    BB


                                                                                            Exhibit F
                                                                                        Page 28 of 44
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                              Zone Creation

               112568551212    infooddiem com NA


                                                         1 Satellite an
             B
                                 FIG . 21




                                                                              Exhibit F
                                                                          Page 29 of 44
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                     Zone - based Logging                           W?
     Code Group Name andor Phone

              o
     GBE
         er

                                                                     Huntsvilles
                                                          72

                                                     22290                  237




                                    FIG . 22




                                                                                 Exhibit F
                                                                             Page 30 of 44
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       Picture Associated with Location 2300

    EBD                                               16
        6563
        $




                                                       772


                                FIG . 23




                                                                       Exhibit F
                                                                   Page 31 of 44
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                                                      US 10,819,809 B2
                                 1                                                                   2
              METHOD FOR CONTROLLING                                  condition can relate to entry by the object into the zone , exit
      CONVEYANCE OF EVENT NOTIFICATIONS                               by the object from the zone , or proximity of the object to the
            IN SUB - GROUPS DEFINED WITHIN                            zone Upon meeting the condition , information regarding the
      GROUPS BASED ON MULTIPLE LEVELS OF                              event is conveyed to the at least one of the one or more users .
              ADMINISTRATIVE PRIVILEGES                             5 The one or more users can access at least one of the location
                                                                      information, information relating to the zone or conveyed
                 FIELD OF THE INVENTION                               information regarding the event using one or more access
                                                                      control codes . The access control codes can be configured to
     The present invention relates generally to a system and require multiple levels of access control.
  method for defining an event based on the relationship of an 10 Thus, the present invention relates to a system and method
  object location and a user - defined zone and managing the for defining events that are correlated with the location of
  conveyance of information related to such object location one or more objects to one or more zones . Hereinafter, such
  eve among computing devices . More particularly, the events are referred to as object location events . The object
  present invention relates to defining an object location event location events can be defined at an application level or a
  based on the location of an object relative to a user -defined 15 user level . The system and method of the invention also
  zone and managing the conveyance of object location event conveys information relating to the object location event to
  information among computing devices based on user iden one or more computing devices, which , in an exemplary
  tification codes associated with the computing devices .            embodiment of the invention , are associated with corre
                                                                      sponding identification codes of one or more users . For
            BACKGROUND OF THE INVENTION                            20 example, association of a user identification code with a
                                                                      computing device can be an embedded association ( e.g. ,
     Various sources of information are available for deter           hard -wired ) or it can be based on a user log - in at the
  mining the location of an object. Such location information computing device. In one embodiment, the object location
  sources include Global Positioning System ( GPS ) receivers , event relates to information about a location of an object and
  radars, radio frequency identification ( RFID ) tags , and vari- 25 information about a zone that is defined by a user. The
  ety of other technologies that can be used to determine information about the location can be derived from a loca
  location information pertaining to an object, which might be tion information source that is associated with the object.
  moving or stationary. Such location information has been Under this embodiment, the object location event occurs by
  used to track vehicles, packages , people , etc. and to enable satisfaction of a defined relationship or condition between
  a variety of location aware applications including location 30 the object location information and user-defined zone infor
  aware toll systems , material handling and supply chain             mation . Once the condition is satisfied, information corre
  management systems , and the like . Thus far, such location         sponding to the occurrence of the object location event is
  aware applications have mostly involved computing devices           conveyed to a computing device . In one embodiment of the
  specifically programmed to provide location - aware func            invention, the information is conveyed to the computing
  tionality in a useful but predetermined manner. For example, 35 device in accordance with a corresponding user identifica
  scanners have been used as sources of information to convey         tion code .
  the locations of shipping containers as they progress through        In one exemplary embodiment, a user can associate a
  various stages en route to a destination , where the specific source of location information with an object and define a
  location of a given shipping container on a shipping dock or zone . Under this arrangement, any other authorized user that
  in a cargo hold can be accessed at any given time              40 has access to information about location of an object and a
     Technological advancements in computing devices and user -defined zone can also define an object location event for
  information networks, in particular wireless networks, have that zone and receive information about occurrence of the
  enabled users of a variety of computing devices such as event. Under another arrangement, only the user who defines
  smart phones, personal digital assistants ( PDAs ) , laptop a user - defined zone can define an object location event for
  computers , etc. to access and utilize information in more and 45 that zone .
  more locations . For example , such advances now allow               In a further embodiment, an access code is associated with
  users to wirelessly check their email or to surf the Internet information about the location of an object. Under this
  from anywhere that is covered by an appropriate data embodiment, the object location information is conveyed to
  service . Some computing devices have become equipped the computing device based upon the user identification
  with technologies that integrate various sources that provide 50 code and an access code associated with the location infor
  information about the location of the devices . For example, mation . Under another arrangement, only the user that
  known mobile devices have been equipped with GPS receiv           associates a source of location information with an object
  ers , which enable the users to know where they are located can associate the access code with the object location
  at any given time .                                               information as determined by the source of location infor
    As sources that offer location information become more 55 mation .
  useful in computing devices and within information net            In yet another embodiment, an access code is associated
  works, there is a need for a system and method that            with the user -defined zone information . Under this embodi
  correlates events with location of objects and conveys         ment, the user -defined zone information is conveyed to at
  information about such events to computing devices.            least one of the computing devices based upon a correspond
                                                              60 ing user identification code and an access code for the
              SUMMARY OF THE INVENTION                           user - defined zone information . Under another arrangement,
                                                                 only the user that defines a user -defined zone can associate
    Briefly, the present invention relates to conveying infor    the access code with the user - defined zone information .
  mation relating to an object to one or more users . The           In still another embodiment, an access code is associated
  invention requires defining a zone by the one or more users . 65 with information about an object location event. Under this
  An event is also defined in terms of a condition related to a    embodiment, the information about the object location event
  relationship between an object location and the zone . The is conveyed to at least one of the computing devices based


                                                                                                                                  Exhibit F
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                                3                                                                 4
  upon a corresponding user identification code and an access       FIG . 12a illustrates an exemplary Tracking Setup Screen
  code for the object location event information . Under            of the Location and Tracking software used to control the
  another arrangement, only the user that defines the object     rate at which GPS data is polled ;
  location event can associate the access code with the object      FIG . 12b illustrates an exemplary Log File Selection
  location event information.                                  5 Screen of the Location and Tracking software used to select
                                                                    a log file for storing GPS information ;
        BRIEF DESCRIPTION OF THE DRAWINGS                              FIG . 13a illustrates an exemplary Map Screen of the
                                                                    Location and Tracking software used to display a map
     The present invention is described with reference to the received from a map server ;
  accompanying drawings. In the drawings, like reference 10 FIG . 13b illustrates an exemplary Data Screen of the
  numbers indicate identical or functionally similar elements . Location and Tracking software used to manage conveyance
                                                                    of tracking and zone information to specific users based on
  Additionally, the left-most digit ( s ) of a reference number access
  identifies the drawing in which the reference number first                codes ;
  appears .                                                            FIG . 13c illustrates an exemplary Zone Screen of the
     FIG . 1 illustrates an exemplary information -sharing envi 15 Location    and Tracking software used to define user - defined
  ronment including computing devices having wired or wire zones          ;
                                                                       FIG . 13d illustrates an exemplary Size Screen of the
  less connectivity to the Internet and a map server, and Location             and Tracking software used to manage the size and
  various objects for which location information sources pro other characteristics of a displayed map ;
  vide object location information ;                             20    FIG . 13e illustrates an exemplary About Screen of the
     FIG . 2 illustrates an exemplary map retrieved from the Location and Tracking software used to provide a notice
  map server of FIG . 1 via the Internet that includes an icon concerning Tracking Privacy Issues , software version infor
  indicating a location of a vehicle relative to three user mation , and copyright information ;
  defined zones .                                                      FIG . 14 illustrates an exemplary Group Screen of the
     FIG . 3 illustrates a first embodiment of a method of the 25 Location and Tracking software used to manage information
  invention where object location event information is con corresponding to groups of contacts;
  veyed to computing devices based upon user identification            FIG . 15 illustrates an exemplary Contact Screen of the
  codes ;                                                           Location and Tracking software used to manage information
     FIG . 4 illustrates a second embodiment of a method of the     corresponding to contacts ;
  invention where object location information is conveyed to 30 FIG . 16 illustrates an exemplary Camera Screen of the
  computing devices based upon an object location informa Location and Tracking software used to manage pictures to
  tion access code and user identification codes, and object be associated with contact location information ;
  location event information is conveyed computing                     FIG . 17 illustrates an exemplary Big Buttons Screen of
  devices based upon user identification codes;                     the Location and Tracking software used to provide easy
     FIG . 5 illustrates a third embodiment of a method of the 35 access to key application commands while walking or
  invention where user - defined zone information is conveyed driving;
  to computing devices based upon a user -defined zone infor           FIG . 18 illustrates an exemplary Map Viewer Web Page
  mation access code and user identification codes , and object used for displaying maps and other information conveyed by
  location event information is conveyed to computing the Location and Tracking software ;
  devices based upon user identification codes ;                 40    FIG . 19 illustrates an exemplary Contact Viewer Web
     FIG . 6 illustrates a fourth embodiment of a method of the Page used for displaying contact information conveyed by
  invention where object location event information is con          the Location and Tracking software;
  veyed to computing devices based upon an object location             FIG . 20 illustrates an exemplary web page -based display
  event information access code and user identification codes ; of a map overlaid with GPS tracking and zone information
     FIG . 7 illustrates a fifth embodiment of a method of the 45 conveyed by the Location and Tracking software;
  invention where object location information are conveyed to          FIG . 21 illustrates an exemplary web page for creation of
  computing devices based upon an object location informa a zone used by the Location and Tracking software ;
  tion access code and user identification codes , user -defined       FIG . 22 illustrates an exemplary map displayed on a web
  zone information is conveyed to computing devices based page depicting logging of contact location information while
  upon a user - defined zone information access code and user 50 a contact is within a zone and logging of contact location
  identification codes , and object location event information is   information when a contact enters or leaves a zone ; and
  conveyed to computing devices based upon an object loca             FIG . 23 illustrates an exemplary map displayed on a web
  tion event information access code and user identification        page depicting a picture associated with a location of a
  codes ;                                                           contact.
     FIG . 8 illustrates an exemplary PDA Application Launch 55
  Screen used to begin execution of a Location and Tracking                  DETAILED DESCRIPTION OF THE
  software as implemented according to the present invention ;                           INVENTION
     FIG . 9 illustrates an exemplary Main Screen of the
  Location and Tracking software from which additional               The present invention will now be described more fully in
  screens are accessed ;                                       60 detail with reference to the accompanying drawings , in
     FIG . 10 illustrates an exemplary Configuration Screen of which the preferred embodiments of the invention are
  the Location and Tracking software used to manage infor         shown . This invention should not , however, be construed as
  mation corresponding to the user of the PDA ;                   limited to the embodiments set forth herein ; rather, they are
     FIG . 11 illustrates an exemplary GPS Screen of the provided so that this disclosure will be thorough and com
  Location and Tracking software used to manage a GPS 65 plete and will fully convey the scope of the invention to
  receiver that is associated with a user's PDA via a Bluetooth     those skilled in the art. Like numbers refer to like elements
  connection;                                                       throughout.



                                                                                                                              Exhibit F
                                                                                                                          Page 33 of 44
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                                5                                                                   6
     The present invention provides a system and method for information - sharing environment that includes company
  defining an event that relates to a location of an object and employees, affiliates, Board members , guests , etc. A division
  managing the conveyance of related information among within a company may set up its own information - sharing
  computing devices associated with corresponding user iden          environment, and so on . A family can set up its own
  tification codes . In accordance with the present invention , an 5 information -sharing environment and an individual may set
  information - sharing environment consists of a computing up his or her own information -sharing environment. As
  network including a map server and computing devices. such , each information - sharing environment can be admin
  Objects associated with sources of location information istered so as to manage conveyance of information among
  provide object location information comprising one or more computing devices based on user identification codes . Man
  coordinates. In an exemplary embodiment, the coordinates 10 agement of users , groups, domains, and publicly available
  correspond to one or more determined locations of the object location information sources is described in greater
  objects within an established coordinate system . In the detail below .
  system and method of the present invention, an object can            Referring to FIG . 1 , information - sharing environment 100
  comprise any device, thing, person or entity that can be includes computing network 102 having wired and wireless
  located or tracked . A user of a computing device can retrieve 15 network links 104 , 106 and connectivity to the Internet 108
  a map , for example, from a map server and define a that provides access to a map server 110 and map informa
  user - defined zone on the map . According to one aspect of the tion 112. Also shown are objects associated with sources that
  invention , an object location event is defined based on a provide object location information . Location information
  relationship between one or more object locations and one or sources are shown including Global Positioning System
  more user -defined zones, where the occurrence of the object 20 (GPS ) satellites 114a and GPS receivers 1146. Examples of
  location event is determined when a condition associated various types of computing devices are shown interfacing
  with the relationship is satisfied . Thus, an occurrence of the with the computing network 102 including a PDA 116a ,
  object location event is determined based on object location PDA having a GPS receiver 116b , a wireless smart phone
  information and user -defined zone information . In other 118a , a wireless smart phone having a GPS receiver 118b , a
  words, an object location event is determined based on the 25 laptop computer 120a , a laptop computer having a GPS
  location of an object relative to a user -defined zone . More receiver 120b , a personal computer 122a , a personal com
  generally, an object location event may be determined based puter having a GPS receiver 122b , and a digital television
  on the location( s ) of one or more objects relative to one or 124. Typically, one or more of the computing devices could
  more user - defined zones . Upon occurrence of the object be used as a control station . FIG . 1 also illustrates various
  location event, object location event information is con- 30 examples of objects (e.g. , devices , things , people , vehicles,
  veyed to at least one computing device based upon a animals, etc. ) that can be associated with location informa
  corresponding user identification code ( s ) associated with the tion sources enabling object location information to be
  computing device( s ).                                           conveyed to computing devices. Examples of such objects
     The present invention can be implemented in a variety of depicted in FIG . 1 include a fireman 126a , semi truck 126b ,
  information - sharing environments. The sharing of informa- 35 crate 126c , car 126d , cow 126e , woman 126f, soldier 126g ,
  tion may be managed among a small number of users such child 126h , dog 126i , and a building 126j . Generally, any
  as a family or group of friends, or among a very large object can be associated with a location information source
  number of users such as among employees of very large in accordance with the present invention including the
  business , or among a worldwide user base such as a might computing devices themselves . Such objects may be out
  be provided via an Internet service . Furthermore, informa- 40 doors or indoors and may be included within another object
  tion - sharing environments may involve information - sharing such as , for example, a crate 126c within a semi truck 126b .
  environments within information - sharing environments. Such objects may be mobile or fixed . At any given time ,
  That is , one or more smaller information - sharing environ mobile objects may be moving or stationary. An object may
  ments may overlap or coexist independent of each other located in any place , or be any thing. Examples of a place ,
  within one or more larger information - sharing environ- 45 or thing, in accordance with the invention include a restau
  ments .                                                          rant, gas station , destination , airport, hospital, first aid sta
     In one embodiment, one or more administrators may be tion , hazardous location , vehicle repair shop , shopping mall ,
  given privileges to configure the information -sharing envi museum , park , residence , business , train station , bus station ,
  ronment . Such configuration could include specifying autho post office , bank, police station, first station , department
  rized users of the environment and their access privileges , 50 store, or storage bin .
  etc. Such configuration can also define groups of users as          Although FIG . 1 depicts a wireless network tower to
  part of an established organizational structure associated represent wireless connectivity , any of various well known
  with the information - sharing environment. Pre -defined forms of networking technologies such as WI - FI , Wireless
  zones comprising domains can be configured along with USB , cellular, Bluetooth , optical wireless, etc. can be used
  events that define relationships between object locations 55 alone or in combination to provide the wired and / or wireless
  relative to such domains . Moreover, sources of publicly connectivity among the computing devices. Furthermore ,
  available object location information , such as weather track    any of various other location information sources can be
  ing systems; can also be configured for use with the system used in place of or in combination with GPS to provide
  and method of the present invention . Because smaller infor object location information . Alternative location informa
  mation -sharing environments can exist within larger infor- 60 tion sources include cellular network based wide area loca
  mation -sharing information environments, various levels of tion systems, infrared -based location systems, ultrasound
  administrator privileges can exist . For example, an Internet based location systems , video surveillance location systems,
  service based on the present invention can be provided and RF signal -based location systems such as WLAN - based
  administered such that anyone having access to the Internet location systems, ultra wideband location systems , and near
  can purchase the service and be an authorized user. A 65 field electromagnetic ranging location systems . GPS sys
  purchaser of the service can set up a company -wide infor tems may be augmented using space based augmentation
  mation -sharing environment within the larger world -wide systems ( SBAS ) and / or local area augmentation systems


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  (LAAS ), radar - based information sources , and a data file.     are compared to those included in the access code whereby
  GPS systems can be outdoor GPS sources or indoor GPS a match would indicate the user is authorized to receive the
  sources . Alternatives to GPS also include GLONASS and information. As such , the information is conveyed to those
  Galileo . Generally, any form of location information system computing devices that are associated with the users having
  can be used that can provide a coordinate of an object 5 access to the information as specified by the access code .
  allowing an icon indicating the object location to be depicted   Under another arrangement, an access code is assigned to
  on a map .                                                     information in the form of a user -defined access code (i.e. ,
    In accordance with the present invention , the users of the a password ) that a given user must have knowledge of in
  computing devices each have user identification codes that order to be granted access to the information . With this
  can be associated with the computing devices in order to 10 approach, the user associating the access code with infor
  manage the conveyance of information to the computing             mation defines the user -defined access code and then con
  devices based upon the identity of the user and information       veys the user - defined access code to other trusted users to
  access privileges . Such user identification codes may be         which the user desires to have access to the information .
  managed by a control station or may be established based on       Those trusted users must enter the access code into their
  user unique user information . Such codes would typically 15 computing devices in order to be granted access to the
  include an identifier (e.g. , a user account name or user information .
  number) and can be associated with one or more groups, and       Under still another arrangement, an access code specifies
  one or more information access privilege classifications, etc. the individual users or groups having access to the infor
  For example, a given user may be included in a group mation to which the access code is associated provided a
  indicating members of a family, a company, a club , or an 20 given user knows the password . As such , the access code
  association . Similarly, employees of a company may belong may specify one or more users and / or one or more groups
  to one or more defined groups within the company ( e.g. , that can enter the appropriate password in order to access the
  Management, Engineering, Accounting, etc.). Membership information . With this approach, there are two conditions
  within a group may indicate the user can have access to that must be met to gain access , being included on the access
  confidential information such as company proprietary infor- 25 list and having knowledge of the password allowing access
  mation or classified information such as the coordinates of       to information to be managed by changing the access list
  military assets on a battlefield . Access to confidential infor   and /or changing the password .
  mation may also be based on an access privilege classifica           Under yet another arrangement, an access code may
  tion , such as a security clearance level . In accordance with include a clearance classification code such as Proprietary,
  the invention , a user's access privileges can change by 30 Confidential, Secret, Top Secret, etc. These access codes
  entering or leaving a domain , for example, the premises of may also specify individual users or groups and may be used
  a shopping mall , a particular store within a shopping mall , with passwords. For example, employees of a company
  a museum , a restaurant, an airport, etc. The use of domains     having at least a Secret clearance classification that know the
  in accordance with the present invention is described in password are provided access to certain information . Gen
  greater detail below . Furthermore, user identification codes 35 erally , many different variations of access code approaches
  are typically associated with other user information such as can be used to practice the present invention .
  the user name, title , address information, email address,       FIG . 2 illustrates an exemplary map 200 retrieved via the
  phone numbers, etc. As such, user identification codes can Internet from a map service provider, such as YAHOO !,
  be associated with computing devices and used to manage displayed on a PDA or other computing device . Any map
  the conveyance of information among the computing 40 available from any of various map providers via the Internet
  devices. Association of a given user identification code with can be used in accordance with the present invention .
  a given computing device may be via a user login process Referring to FIG . 2 , map 200 depicts an area including a
  whereby a user enters a user account name and password . portion of Huntsville, Ala . alongside part of Redstone Arse
  Certain computing devices ( e.g. , a PDA or smart phone ) may nal , Ala . Shown on the map is an icon 202 that indicates the
  allow a user identification code to be embedded or pro- 45 location of a car equipped or somehow associated with a
  grammed into a computing device's memory such that any source of location information, such as GPS . The location
  user of the computing device is considered to be the user information source determines the location of the car and
  owning the device.                                            conveys the object location information to the computing
     In accordance with the present invention, access codes environment to which the computing device displaying the
  can be associated with information to manage the convey- 50 map is interfaced . Most location information sources include
  ance of the information to computing devices . Specifically, communications capabilities enabling them to convey object
  an object location information access code can be associated      location information . Also shown in FIG . 2 are three user
  with object location information. A user -defined zone infor      defined zones 204 , 206 , and 208. Such user -defined zones
  mation access code can be associated with user - defined zone     can be defined using various graphical techniques such as
  information and / or an object location event information 55 selecting a point and dragging to another point causing a
  access code can be associated with object location event rectangular shaped zone (like 208 ) to be defined . Alterna
  information . These access codes can be used in various tively, a point can be selected indicating the center of a
  ways . In one arrangement, an access code specifies the circular zone and a dragging action made to define a range
  individual users and / or groups of users having access to the of the circular zone (like 206 ) . Various other common
  information to which the access code is associated . Such an 60 drawing techniques such as free form drawing can be used
  access code would typically include specific user identifi to define a zone not having a basic shape (like 204 ) .
  cation codes and / or group codes . For example , by a user Furthermore, non drawing techniques can be employed to
  logging into a computing device , a given user identification define a user - defined zone including use of coordinates
  code is associated with the computing device. The user stored in a database . For example , the perimeter coordinates
  identification code may also be associated with one or more 65 of a surveyed property that are stored in a database could be
  groups having corresponding group identification codes . automatically used to define a user -defined zone in accor
  The user identification code and group identification code ( s ) dance with the invention .


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     In accordance with the present invention , one or more           indicating the location of the car as it travels between the
  object location events can be defined relating a given              user -defined zones or to home . The emails received based on
  user -defined zone to the location of a given object or objects .   the defined events provide a record of the daughter's enter
  Occurrence of an object location event can result in gener        ing and leaving the three user - defined zones and can be used
  ating relevant information (i.e. , object location event infor- 5 to indicate characteristics of movement including the speed
  mation) or performing a function (i.e. , object location event of a vehicle .
  function ). The object location event function can include           FIG . 3 illustrates a first embodiment of a method of the
  generating a time/date stamp, send an email , place a call , invention where object location event information is con
  sound an alarm , etc. Thus, an object location event in veyed to computing devices based upon user identification
  accordance with the invention can require the performance 10 codes . Referring to FIG . 3 , a first embodiment of a method
  or control of a function based on an object location relative 300 of the invention consists of six steps 302-312 . The first
  to a user -defined zone . An object location event can , for step 302 is to associate user identification codes with com
  example , be defined to occur when a specific object or any puting devices . The association can be an embedded asso
  one or more objects enter, leave, or are within a defined ciation , for example, programming the user identification
  proximity of a user - defined zone . An object location event 15 code in the memory of the computing device , or it can be
  may also be defined to occur periodically as long as an accomplished via a log - in process at the computing devices
  object is outside a user -defined zone or inside a user -defined using the user identification codes . The second step 304 is to
  zone . Alternatively, an object location event may be defined associate a location information source with an object. Such
  to occur when the location of an object is determined to be association may involve equipping or attaching the object
  within a given proximity of a user - defined zone , for 20 with or to the source of location information . A third step
  example, within 500 feet of a user - defined zone correspond 306 is to define a zone . The zone can be defined by a user
  ing to the grounds of a school, a shopping mall , a building , at any time . A fourth step 308 defines an object location
  an army base , etc. An event may also be defined to occur event in terms of a relationship between information relating
  when one or more objects or specific objects have entered or to the object location and user - defined zone . The fifth step
  exited one or user -defined zones or specific user -defined 25 310 is to determine an occurrence of the object location
  zones .                                                          event for example by detecting entry into , exit from or
     Referring again to FIG . 2 , an example scenario is proximity with the user -defined zone . A sixth step 312 is to
  described relating the location of the vehicle 202 to the three convey object location event information to computing
  user -defined zones 204 , 206 , and 208. The exemplary sce devices based upon the user identification codes , for
  nario involves a mother desiring to track the location of a 30 example, by sending an e -mail . The step 312 can also
  teenage daughter while she drives the vehicle 202. The involve performing a function such as generating an alarm .
  vehicle 202 is equipped with a location information source           In accordance with one embodiment of the invention , any
  ( e.g. , a GPS receiver) and is configured to transmit the user can associate a source of location information with an
  location of the car at some data rate ( e.g. , transmits location object, define a user -defined zone , and define an object
  every 5 seconds ) when the car is powered on (i.e. , car key 35 location event. As such, in relation to the example scenario
  is in the on position) . The mother sets an object location of FIG . 2 , steps 304-308 of method 300 are used by the user
  information access code such that only the mother, specifi        (i.e. , a mother) to associate a GPS device with her daughter's
  cally, a PDA or other computing device used by the mother, vehicle and define three user -defined zones corresponding to
  has authorized access to the object location information of the ballpark parking lot , restaurant, and university library.
  the vehicle 202. The mother and daughter discuss her 40 The user can also define object location events in terms of
  scheduled activity for the day and the corresponding travel conditions that relate to entering into , leaving from or being
  among different places the daughter plans to go . According in the proximity of the three user -defined zones . As stated
  to the daughter's schedule, the daughter is to attend a above , upon the occurrence of the object location events ,
  softball game at a local ballpark, have lunch with friends at information can be conveyed to the mother's computing
  a local restaurant, and then go to a library on the campus of 45 device via emails . Occurrence of event can also result in
  a local university to do research for a paper.                   performance of certain functions, e.g. , causing the mother's
     After discussing the daughter's plans for the day, the PDA to beep.
  mother, using a PDA , retrieves a map and defines the three         In addition to or alternatively to the event information ,
  user - defined zones relating to three locations the daughter is object location and / or zone information can be conveyed to
  supposed to be at during the day. Specifically, the mother 50 the computing devices based on user identification codes ,
  creates the three user - defined zones 204 , 206 , 208 corre     which comprise a first level of access control. The convey
  sponding to the ballpark parking lot , restaurant, and univer ance of any one or combination of the foregoing informa
  sity library, respectively , and defines object location events tion , i.e. , location , zone and / or event, can be to the same
  for each user -defined zone . For each of the three user         users or groups or different users or groups . A second, third ,
  defined zones 204 , 206 , and 208 , the mother defines an 55 or additional layers of access control can also be applied to
  object location event where the mother will receive an email any one or combination of the location, zone and / or event
  indicating the occurrence and time of the object location           information using corresponding access codes as further
  events , which correspond to when her daughter's car enters         described below .
  or leaves any of the three user -defined zones . The mother           Referring to FIG . 4 , another embodiment of a method 400
  defines each of the three ‘ leaving user -defined zone ' object 60 of the invention consists of six steps 302-312 of the first
  location events such that when they occur they cause her method 300 along with two additional steps 402 , 404. As
  PDA to make a sound ( e.g. , beep ) . The user - defined zones with the first method 300 , the first two steps 302 , 304 of
  and defined object location events allow the mother to know method 400 associate user identification codes with com
  when the daughter has safely arrived at the three places the puting devices and associate a source of location informa
  daughter is to go that day. Furthermore, when the PDA 65 tion with an object. With method 400 , however, the added
  beeps , the mother knows the daughter is in transit and can two steps 402 , 404 associate an access code with the object
  view the displayed map on the PDA to watch the icon location information and convey the object location infor


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  mation to computing devices based upon the access code of allowing both parents to see the icon indicating the position
  the object location information and user identification codes . of the daughter's car in relation to the three user -defined
  The final four steps 306-312 of method 400 are the same as zones . In an alternative embodiment, any user having access
  those of method 300 , including conveying object location to the user - defined zone information is enabled to define an
  event information to computing devices based upon user 5 object location event relating object location information to
  identification codes .                                        the user - defined zone information . Thus, under one arrange
     Thus, FIG . 4 illustrates an embodiment where the object   ment, only the user who defines a user - defined zone can
  location information can be accessed by those users that      define an object location event relating to the user - defined
  have knowledge of the access code of the object location      zone , while under another arrangement, any user ( s) having
  information . Under this embodiment, the user can give the 10 access to user - defined zone information can define an object
  access code to other trusted users for accessing the location location event relating to the corresponding user -defined
  information. Those having the knowledge of access code for         zone .
  the location information may or may not have access to other         FIG . 6 illustrates a fourth embodiment of a method of the
  information such as the zone or event. Alternatively, users invention where object location event information is con
  may be granted access to the object location information 15 veyed to computing devices based upon an object location
  based on the access code without having knowledge of the event information access code and user identification codes .
  access code .                                                  Referring to FIG . 6 , a fourth embodiment of a method 600
     In accordance with another exemplary embodiment, any of the invention consists of five steps 302-310 of the first
  one user can associate a location information source with an method 300 along with two additional steps 602 , 604. As
  object, define a user - defined zone , and define an object 20 with the first method 300 , the first four steps 302 , 304 , 306 ,
  location event. The user that associates a location informa        308 of method 600 associate user identification codes with
  tion source with an object can also associate an access code computing devices, associate a location information source
  with the object location information provided by the source . with an object, define a user - defined zone , and define an
  As such, in relation to the example scenario of FIG . 2 , the object location event in terms of a relationship between
  mother can facilitate the conveyance of the object location 25 object location information and user -defined zone informa
  information to another trusted user, who has knowledge of tion . With method 600 , however, step five 602 associates an
  the access code , such as the father of the daughter. The object location event information access code with the
  mother may or may not allow conveyance of the zone or object location event information relating to the object
  event information to the father . Alternatively, a user may be location event. After step six 310 determines the occurrence
  granted access to the object location information based on 30 of an object location event, step seven 604 conveys object
  the object location information access code without having location event information to the computing devices based
  knowledge of the access code .                                 upon an access code for the object location event informa
     Referring to FIG . 5 , a third embodiment of a method 500 tion and user identification codes . Thus, by using the object
  of the invention consists of six steps 302-312 of the first location event information access code, the mother could
  method 300 along with two additional steps 502 , 504. As 35 enable both parents to receive the object location event
  with the first method 300 , the first three steps 302 , 304 , 306 information corresponding to the object location events
  of method 500 are to associate user identification codes with defined by the mother. In other words, both parents could
  computing devices , to associate a location information receive emails indicating when the daughter entered or
  source with an object, and to define a user -defined zone . exited one of the three user - defined zones . In accordance
  With method 500 , however, the added two steps 502 , 504 40 with a preferred embodiment of the invention , the user that
  also associate an access code with the user - defined zone defines object location events can also associate access code
  information . As a result , zone information can be conveyed for information that correspond to object location events . By
  to the computing devices based upon the access code for the also associating object location event information access
  user - defined zone information and user identification codes . codes with the defined object location events, the mother can
  The final three steps 308-312 of method 500 are the same as 45 enable the object location event information to be conveyed
  those of method 300 , including conveying object location to another user with knowledge of such access code , such as
  event information to computing devices based upon user the father of the daughter. Thus, with the method 600 in
  identification codes . The event information under this relation to the example of FIG . 2 , the father would receive
  embodiment however may or may be conveyed to those the object location event information but may or may not
  users with knowledge of the user -defined zone information 50 receive object location information or user - defined zone
  access code . As such , in relation to the example scenario of information .
  FIG . 2 , the method 500 enables the user ( i.e. , the mother ) to  In an alternative arrangement, steps 502 and 504 of
  associate a GPS device with her daughter's vehicle, to define method 500 could also be used with method 600 whereby a
  three user - defined zones , and to define object location events user ( e.g. , the mother) also associates an access code with
  associated with the three user -defined zones causing, upon 55 the user - defined zone information for conveyance to another
  the occurrence of the object location events , emails to the user with knowledge of such access code ( e.g. , the father ).
  sent to the mother and her PDA to beep . By also associating Under such an alternative arrangement, the object location
  user - defined zone information access codes with the three        event can be defined by any user ( s ) having access to the
  defined user -defined zones, the mother also enables the           user -defined zone information or only the user that defined
  user - defined zone information to be conveyed to another 60 the user -defined zone . In either case , only the user that
  user with knowledge of the access code , such as the father defines an object location event can associate an object
  of the daughter.                                             location event information access code with object location
    In a further embodiment, steps 402 and 404 of method             event information corresponding to the object location
  400 could also be used with method 500 , whereby the user event.
  ( i.e. , the mother ) also associates an object location access 65 FIG . 7 illustrates a fifth embodiment of a method of the
  code with the object location information such that both the       invention where object location information is conveyed to
  mother and father receive the object location information          computing devices based upon an object location informa


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  tion access code and user identification codes , user - defined   more coordinate systems can be established by an adminis
  zone information is conveyed to computing devices based           trator to describe object locations within an information
  upon a user - defined zone information access code and user       sharing environment. The coordinate system may be estab
  identification codes , and object location event information is   lished to accommodate the coordinate system used by any
  conveyed to computing devices based upon an object loca- 5 suitable map service . A typical coordinate system is known
  tion event information access code and user identification      as the latitude, longitude, and height system . Alternative
  codes . Referring to FIG . 7 , in the method 700 , the steps of coordinate systems include the Earth Centered , Earth Fixed
  method 600 are again used with the addition of the two steps      Cartesian ( ECEF X - Y - Z ) coordinate system , Universal
  402 , 404 of method 400 and the two steps 502 , 504 of            Transverse Mercator (UTM ) coordinate system , Military
  method 500. With these additional four steps , when referring 10 Grid Reference System ( MGRS ) , World Geographic Refer
  to the example of FIG . 2 , the mother could associate object ence System (GEOREF ) , Universal Polar Stereographic
  location information access codes and user- defined zone projection (UPS ), national grid systems, state plane coordi
  information access codes with object location information nates , public land rectangular surveys, metes and bounds,
  and user -defined zone information, respectively, in such a etc. A coordinate system may also be established corre
  way as to allow both parents to receive emails, beeps, and 15 sponding to a domain , for example , an office building or a
  view the movement of the daughter's car using their respec shopping mall . Additionally, one or more users may define
  tive PDAs .                                                           a coordinate system for example , making the location of a
     In accordance with the present invention, an administrator user's home or business or a user's own location the ( 0,0 )
  of an information - sharing environment maintains a database reference point within an X -Y coordinate system . As such ,
  of user information for those having access to the informa- 20 computing devices used in accordance with the invention
  tion -sharing environment. Such a database can be main may include means for translating between coordinate sys
  tained on a central or distributed control station that may be tems . Coordinate systems may be based upon the location
  a company's computer server or on an individual's personal information source( s ) used . For example, a GPS receiver
  computer. Information maintained for a user typically location information source may be placed at a location , for
  includes a user account name and password and a user 25 example the entry door of a building, and its GPS location
  identification code , and may include a variety of information in latitude and longitude and height used as a ( 0,0,0 )
  about the user including the user's name, address, phone reference point for a coordinate system used inside the
  number ( s ), email address ( s ), company name, title , birth date , building along with a second location information source
  etc. A user may be given access privileges to certain classes such as UWB system better suited for indoor operation . As
  of information based on the user's position or role within a 30 such , one or more coordinate systems established by an
  company or family, a Government security clearance, and /or administrator or by a user of an information - sharing envi
  for other reasons deemed appropriate for a given informa ronment can be used to provide object location information .
  tion - sharing environment.                                              In accordance with the present            when a user
     An administrator can define one or more groups to which associates multiple location information sources with an
  a given user can be associated . Groups may be defined in 35 object, the user can determine whether or how the object
  accordance with an organizational structure or hierarchy. For location information is used ( e.g. , combined ). In particular,
  example, an administrator for an information - sharing envi the user can determine how handoffs are to occur between
  ronment corresponding to a company may define groups for location information sources such as switching among avail
  the various organizations within the company, such as legal , able GPS satellites based on received signal strength or
  accounting, shipping , etc. , and for groups of users not based 40 switching between a GPS and UWB system when a user
  on organization , such as executive, management, adminis goes indoors, which might be based on loss or degradation
  trative, exempt employees, non -exempt employees, etc. of a GPS signal. Handoff among location information
  After a group has been defined, the administrator can sources can be based upon object location information .
  associate individual users with one or more of the defined           In accordance with the present invention, a user that
  groups . Similarly, a parent administering an information- 45 associates an information location source with an object can
  sharing environment might define groups such as parents , determine how often object location information is updated.
  teenagers, children , drivers, and so forth . Information main     Under one arrangement, the user can determine the rate at
  tained for a group typically includes a group name and group which object location information is provided. Under
  identification code , and may include a variety of information another arrangement, object location information may be
  about the group including the group's address, phone num- 50 provided by the location information source at a certain rate
  ber, email address, website , point -of -contact, etc. As such , a which the user may select as the appropriate update rate or
  user may be associated with one or more groups defined by the user may select to update object location information
  an administrator of an information -sharing environment.           less often or to only maintain (or use ) the current object
     In accordance with the present invention, any user can location information . Depending on whether object location
  define a group , for example, a group of friends, a study 55 information is being logged (i.e. , stored ) and / or conveyed to
  group , etc. Information for such user - defined groups may be other users , decisions concerning the update rate typically
  maintained in a central database or may be maintained on an involve a tradeoff of available storage capabilities ( e.g. , in
  individual user's computer. As such , knowledge of the memory, to a physical storage media , etc. ) versus granularity
  defined group may be available to other users of an infor of stored object location information and resulting accuracy
  mation - sharing environment or may be maintained solely for 60 of its display on a map . For example, object location
  an individual user's benefit .                                  information stored in a log file once every 5 seconds would
     In accordance with the present invention , one or more allow a more accurate display of the movement of a vehicle
  location information sources can be associated with an            than object location information stored once per minute , but
  object to provide object location information consisting of a     the once per 5 second update rate requires twelve times the
  one or more coordinates corresponding to one or more 65 storage space compared to the space required to store object
  determined locations of the object within an established          location information once per minute . When only maintain
  coordinate system . In accordance with the invention , one or     ing the current object location information , the same


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  memory / storage location can be repeatedly rewritten . The mall . A map may correspond to a battlefield . As such , map
  selected update rate also determines how often the object information corresponding to a given electronic map would
  location information can be conveyed to users. The user can be accessible to the computing devices of the information
  also determine whether a time stamp is associated with each sharing environment receiving object location information,
  update to indicate the actual time that an object was at a 5 zone information, and /or object location event information
  given location.                                                that is to be displayed on the map . However, certain types of
     As previously described, the user that associates an infor devices may be included in the information sharing envi
  mation location source with an object can also associate an ronment that do not have the ability to receive or display a
  object location information access code with the object map but that can receive useful object location information ,
  location information provided by the information source and 10 zone information , and /or object location event information ,
  can thereby manage the conveying of the object location nonetheless. For example, an expecting woman might define
  information to one or more users . As generally described a zone around her hospital and an object location event
  above , an object location information access code can causing her Blackberry to call her sister's cellular telephone
  specify individual users or groups allowed access to the when her car enters the zone telling her that she has safely
  object location information, may specify a password a user 15 arrived at the hospital to deliver her baby.
  must know to receive access to the object location informa        Various commonly used map display management tech
  tion, and /or may include a clearance classification code . As niques can be employed in accordance with the present
  such , the object location information access code determines invention . For instance , an automatic zoom level selection
  which user( s ) are conveyed the object location information . scheme may be established where the zoom level defaults to
     In accordance with the present invention, a user that 20 the closest in level that can display all user -defined zones .
  associates an information location source with an object can An automatic centering approach might set the center of the
  determine whether to store object location information in a map to correspond to the location of a given object such as
  log file, which can be played back . The storage of object the current location of a user or to the average location of
  location information to a log file may be the result of the multiple objects. Icons can be set to flash to indicate
  occurrence of a defined object location event. For example, 25 movement or non -movement of an object. Colors of lines or
  a user could define two zones , a first object location event areas indicating a zone may change when an object has
  that starts logging object location information when an entered or exited the zone . Such map display management
  object exits the first zone , and a second object location event techniques may be controllable by an administrator and/or
  that ends the logging of object location information when by individual users .
  the object enters the second zone , thereby allowing the 30 In accordance with the present invention, a user can define
  movement of the object between the two zones to be a user -defined zone on a map that can then be used to define
  reviewed at a later time. Alternatively, object location infor an object location event relating object location information
  mation may be provided by a simulation . For example, to user -defined zone information . A user - defined zone can be
  military officers could define battle plans based upon move defined graphically using various techniques such as select
  ment of personnel and equipment having location informa- 35 ing a point and then dragging to another point to define
  tion sources into and out of defined zones and corresponding either a rectangular shaped zone or a circular zone , drawing
  object location events . For training purposes, the movement a zone by freehand to create a zone having an oddly shaped
  of personnel and equipment could be produced by a simu boundary , etc. As such , a user - defined zone has a boundary
  lation that inputs the object location information into the that can be specified in accordance with an established
  information sharing environment allowing the military offi- 40 coordinate system . Typically user - defined zone information
  cers to react by changing plans, defining new zones , new maintained for a user - defined zone includes a zone identi
  object location events, etc. Furthermore, object location fication code and its boundary coordinates and may include
  information may be provided by emergency information a zone name, a zone security level , a zone danger level, etc.
  sources , which might indicate the location of a fire, flood , Generally, a user that defines a zone can associate zone
  earthquake, bridge out , etc. or by weather information 45 information with the zone that can be conveyed to other
  sources , which might indicate the location of a severe          users .
  thunderstorm , tornado, winter storm , hurricane, etc.              As stated above, a user that defines a zone can also
     In accordance with the present invention , object location     associate a zone information access code with the user
  information and zone information is displayed on a map             defined zone information corresponding to the user -defined
  received from a map information source . In the example 50 zone and can thereby manage the conveying of the user
  described previously in relation to FIG . 2 , a map from an defined zone information to one or more users . As generally
  Internet map service was used that shows the streets of the described above , a user -defined zone information access
  city of Huntsville, Ala . at an appropriate scale for illustrating code can specify individual users or groups allowed access
  the movement of the daughter among three locations in the to the user - defined zone information , may specify a pass
  city. Under one scenario , a user could zoom in or out from 55 word a user must know to receive access to the user -defined
  a street scale to a world scale . Generally , any electronic map zone information , and /or may include a clearance classifi
  can be used in accordance with the present invention as cation code. As such , the user -defined zone information
  appropriate to meet the informational requirements of the access code determines which user( s ) are conveyed the
  users involved . Furthermore, multiple maps can be used user - defined zone information .
  allowing different levels of scale as appropriate for the 60 In accordance with the present invention, a user can define
  requirements of the user( s ) involved in the sharing of an object location event relating object location information
  information . A world map might be used, for example, that to user -defined zone information . An object location event
  enables the locations of ships traveling to and from user may be something that is to occur whenever a specific object
  defined zones associated with various ports around the world enters and / or leaves a specific user - defined zone or an object
  to be displayed. A map of an amusement park might be used 65 location event may be something that is to occur whenever
  by a family visiting the park . A map may correspond to the an object is or is not within a specified proximity of a
  inside of a building such as an office building or a shopping user -defined zone . Under one aspect the invention , the


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  occurrence of an object location event results in the con         mall's map and begin to indicate their locations within the
  veyance of object location event information which includes       mall . The girls decide to split up and meet later at their
  object location information and user -defined zone informa        favorite hangout spot within the mall , which is a sitting area
  tion . Typically, object location event information maintained    near an escalator. One of them defines a user -defined zone on
  for a defined object location event includes an object loca- 5 the mall's map corresponding to the sitting area and an
  tion event identification code and may include an object object location event whereby the smart phones are sent an
  location event name, a time stamp, an object location event email and caused to beep when any of the girls enters the
  security level, an object location event danger level , etc. sitting area. They then split up to do some shopping . As they
  Generally, a user that defines an object location event can walk about the mall , they walk near kiosks that recognize
  associate object location event information with the object 10 their presence within predefined areas within the mall ( via
  location event that can be conveyed to other users . Under the smart phones ) and the kiosks provide personalized
  another aspect of the invention, the occurrence of an object specials such as , “ Cindy. Your favorite pre -washed jeans are
  location event results in performance of a function , includ 30 % off !” When one of the girls finishes shopping, and goes
  ing the control of a device such as a camera , motion sensor, to the sitting area , the other two girls are automatically
  garage door, web cam , lighting device, etc.                 15 emailed and their phones beep so that they know to go meet
     In accordance with the present invention, a user that their friend at the sitting area. With this example, the
  defines an object location event can also associate an object user - defined zone ( i.e. , the sitting area ) and the object
  location event information access code with the object location event (i.e. , the emails /beeps) were not predefined as
  location event information corresponding to the object loca were the personalized specials provided by the kiosks as the
  tion event and can thereby manage the conveying of the 20 girls walked into predefined zones .
  object location event information to one or more users . As       Thus, a key distinction between the user -defined zones of
  generally described above , an object location event infor the present invention and predefined zones of previous
  mation access code can specify individual users or groups location - aware applications is that the occurrence of object
  allowed access to the object location event information , may location events and the management of the conveyance of
  specify a password a user must know to receive access to the 25 object location event information is determined by the user
  object location event information, and / or may include a of the computing device and not by someone else . Take for
  clearance classification code . As such , the object location example, a traveling salesman who wants to make his day
  event information access code determines which user( s ) are more efficient. In accordance with the present invention ,
  conveyed the object location event information .                prior to venturing out on the road , the salesman determines
     An important distinction exists between the user -defined 30 the nine sales calls he intends to make for the day and defines
  zones and object location events of the present invention , a user - defined zone about each sales call location . For each
  and predefined zones ( or domains ) and predefined object user -defined zone he defines object location events related to
  location events that have previously been used in location      the location of his car and each zone . The time he enters or
  aware applications . Predefined zones are used to provide leaves each zone is to be recorded and , as he enters each
  location -aware functionality in a useful but predetermined 35 zone , his PDA is to automatically receive the latest , up -to
  manner where users of computing devices within the infor        the -minute customer information maintained by his sales
  mation sharing environment do not define the domain( s ) or office . For all but his last sales call he defines an object
  the events that occur as objects enter or leave the domains . location event for when he leaves the corresponding zone to
  A predefined zone may be a house , a room , a business            email his next sales call to let them know that he's en route
  perimeter, or a predefined area within a much larger area . 40 to their business. The email sent when leaving his fourth call
  One or more events involving the location of objects relative specifically mentions he'll be arriving in about one hour that
  to the predefined zone is predetermined . The user of the is to include a lunch break . He also defines an object location
  computing devices in prior art shared information environ event to email his wife letting her know the time when he
  ment participates but does not otherwise control or manage leaves the zone corresponding to his last sales call thus
  the conveyance of information, which has all been prede- 45 allowing her to better plan her evening .
  termined . For instance , an alarm condition may be set when           In accordance with the present invention , information
  a person carries an object having a non - deactivated RFID packages can be associated with object location information ,
  tag into a predefined zone about an exit to a store whereby user - defined zone information, and / or object location event
  the alarm condition causes a recorded warning message to information where an information package may include a
  play on a loudspeaker. A motion detector may detect a 50 picture, movie , audio file, document, and / or data file . The
  person walking through a predefined area near a building information packages may include sensor information
  and turn on a light. Kiosks within a zoo may interact with received from one or more sensors including those sensors
  individuals carrying tracking devices that enter predefined that measure a characteristic of a physical environment, such
  areas about the kiosks. A super mall , itself a domain , may be as temperature, humidity, radioactivity, etc. and / or sensors
  subdivided into its tenant stores or even departments within 55 that measure physical characteristics , such as heart rate ,
  stores, each a separate domain , and customers carrying breathing rate, etc. At least one time stamp may be associ
  tracking devices may be offered specials as they move about ated with an information package indicating the timing of
  the mall .                                                          the information included in the package, for example, the
     The user - defined zones of the present invention can be times when pictures were taken or sensor measurements
  defined by any user of the information sharing environment. 60 were made . Under one arrangement, any user can associate
  User -defined zones can be used in conjunction with an information package with object location information ,
  domains . For example, three teenage girls, each carrying a user -defined zone information , and / or object location event
  smart phone with a location information source , go to a mall information .
  where each of the three girls is a member of the mall's                In accordance with the present invention, a user that
  interactive shopping club . As they enter the mall , their smart 65 associates an information package with object location
  phones automatically interface with the information sharing information , user - defined zone information , and / or object
  environment available within the mall . Their phones load the     location event information can also associate an information



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  package access code with the information package and can           only update the current location record . If TRACKING is set
  thereby manage the conveying of the information package to         to ON , location packet are saved in individual records that
  one or more users . As generally described above, an infor         can be displayed as a ‘ Mapped Track ' on a user's PDA ,
  mation package access code can specify individual users or Phone, or PC .
  groups allowed access to the information package, may 5 Current and prior user location information for one or
  specify a password a user must know to receive access to the more users can be conveyed to one or more users having
  information package, and / or may include a clearance clas        access privileges to the user location information for display
  sification code . As such , the information package access on the one or more users ' computing device ( s ) . The current
  code determines which user ( s) are conveyed the information position of a given user is indicated by a black square. As
  package .                                                      10 such , as the user moves , black squares indicate the current
     Generally, the present invention enables any user of a and past location of the user thereby showing the movement
  multiple user computing environment to define object loca         or path of the user.
  tion events relating object location information to user            Zones comprise geographic boundaries. If the GPS
  defined zones and to manage to conveyance of object receiver indicates a user's location passes over a zone
  location event information based on user identification 15 boundary, an exit or entry alert is issued . A notification is
  codes . By also using access codes , multiple users can sent to one or more individuals as defined when the zone is
  collaboratively define and manage events and manage the created . Different types of zones can be created with each
  conveyance of corresponding object location information , zone type causing different types of information to be
  user - defined zone information, and / or object location event conveyed when a user's location enters, exits, and / or is
  information among computing devices . Moreover, the pres- 20 within a zone . Codes associated with the zones determine
  ent invention provides a system and method for generating which users receive location information . As such , the codes
  user -defined location aware applications. Described below associated with the zones correspond to the zone informa
  are four examples of such user -defined location aware tion access codes and object location event information
  applications that are supported by the present invention .        access codes described generally above . Specifically, by
     Parole Officer Support                                      25 sharing the Phone number and Code other users can ‘load
     Parolees have associated with them a location information the zone into their device and it will respond with alerts to
  source . A parole officer can , on a case -by - case basis , identify the defined addressees thereby enabling group tracking and
  good locations and bad locations for parolees and define location management.
  object location events for entering such good and bad                    FIG . 8 illustrates an exemplary PDA Application Launch
  locations causing him to be notified of a given parolee 30 Screen 800 used to begin execution of the Location and
  visiting the locations .                                              Tracking software . Referring to FIG . 8 , a PDA application
     Pet Tracking                                                       launch screen 800 typically includes various icons corre
     A pet has associated with it a location information source . sponding to programs available for execution such as the
  The pet owner defines zones that the pet is supposed to stay Location and Tracking software icon 802. When a user
  in ( e.g. , a yard) and may define zones in which the pet is not 35 selects the Location and Tracking software icon 802 , the
  allowed (e.g. , a garden ). An object location event for leaving Location and Tracking software is executed .
  the yard sends an email and phones the pet owner. An object            FIG . 9 illustrates an exemplary Main Screen 900 of the
  location event for entering the garden might cause a siren to Location and Tracking software that appears when the
  go off to scare the pet .                                           software is launched . The Main Screen 900 is the primary
     Child Tracking                                                40 screen from which additional screens of the software are
    A child has associated with it         location information      accessed via the buttons labeled Maps, Contacts, GPS ,
  source . A parent identifies zones in the neighborhood where  Config , Groups, Camera, and Buttons . Main Screen 900 is
  the child is allowed to play and explicitly not allowed to    also the screen to which the user of the software is returned
  play. Object location events are defined where the parent is  when closing screens associated with the buttons. The Exit
  emailed or otherwise notified as the child moves about the 45 button ends execution of the software and returns the user to
  neighborhood.                                                 the Application Launch Screen 800 .
    Hiking                                                         FIG . 10 illustrates an exemplary Configuration Screen
    Several hikers have associated with them location infor          1000 of the Location and Tracking software used to manage
  mation sources . The hiking trail as indicated on a map information corresponding to the user of the PDA (or other
  includes user- defined zones corresponding to key locations 50 computing device ). The user of the program accesses the
  along the route . Object location events are defined such that Configuration Screen 1000 by selecting the Config button of
  each hiker receives an email on their smart phone whenever the Main Screen 900. Configuration Screen 1000 provides
  another hiker enters or exits a zone .                       fields for entering a user data access code, user phone
    The present invention is implemented by a Location and number, log file name, and a user domain or IP address . The
  Tracking software that executes on PDAs , telephones, and 55 screen is also used to toggle logging on and off.
  personal computers. The Location and Tracking software is            FIG . 11 illustrates an exemplary GPS Screen 1100 of the
  used for tracking the location of a user whereby user location     Location and Tracking software used to manage a GPS
  information is conveyed to contacts based upon the location        receiver that is associated with a user's PDA (or other
  of the user relative to one or more zones defined by the user.     computing device ) via a Bluetooth connection . GPS Screen
  As such , user location information described below corre- 60 1100 includes fields for displaying and controlling GPS
  sponds to object location information generally described device settings, a button for turning the Bluetooth connec
  above .                                                           tion on and off, a button for turning the GPS device on and
     The Location and Tracking software is typically used in off, and buttons for controlling whether real- time or simu
  the LOCATION mode . This means that a GPS connection is lated GPS data is conveyed. GPS Screen 1100 also includes
  active and a polling rate is set to periodically send location 65 Setup button 1102 used to launch the Tracking Setup Screen .
  packets indicating the location of the user to a central             FIG . 12a illustrates an exemplary Tracking Setup Screen
  database . If a user sets TRACKING to OFF, location packets 1200 of the Location and Tracking software used to control


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  the rate at which GPS information is polled, to examine GPS        ' buddy list ' containing the user name , phone number and
  information records , and to turn on or off the TRACKING           code for each “ buddy '. If a public zone is available it can be
  mode . Tracking Setup Screen 1200 includes Files button selected and loaded into the user's device . Users share
  1202 that is used to launch Log File Selection Screen 1204 access codes in order to share zones . As such , a user tells
  that is used to select a log file. A log file can be written to 5 another user the access code needed to load a zone .
  and then later read , as controlled by the Use button, to cause    FIG . 15 illustrates an exemplary Contact Screen 1500 of
  a play back of GPS information .                                the Location and Tracking software used to manage infor
     FIG . 12b illustrates an exemplary Log File Selection mation corresponding to contacts (i.e. , other users ) . The
  Screen 1204 of the Location and Tracking software used to Contact Screen 1500 allows the user to populate information
  select a log file for storing GPS information . Log File 10 corresponding to contacts such as name and address infor
  Selection Screen 1024 provides a typical Open dialog win        mation .
  dow allowing a user to open a log file stored at any storage       FIG . 16 illustrates an exemplary Camera Screen 1600 of
  location to which the user ( and the user's device) has access . the Location and Tracking software used to manage pictures
     FIG . 13a illustrates an exemplary Map Screen 1300 of the associated with user location information . The Camera
  Location and Tracking software used to display a map 15 Screen 1600 is used to associate pictures and text with a user
  received from a map server. The Map Screen 1300 is used and to convey the picture information to other users . The
  to request and locate a map using the current latitude and pictures correspond to information packages described gen
  longitude of the user, to turn the TRACKING mode on or erally above, which could also include other forms of
  off, to display /edit data location records, to create zones , and information . The Camera Screen 1600 could alternatively be
  to size the map . These various functions are controlled via 20 a Device Screen that controlled multiple devices including
  a row of buttons 1302 at the bottom of Map Screen 1300 . cameras , motion sensors, garage doors, web cams , etc. and
  The row of buttons 1302 is also displayed on the bottom of corresponding information as described previously. As
  Data Screen 1304 , Zone Screen 1306 , Size Screen 1308 , and described previously, picture or other information packages
  About Screen 1310 .                                                can be associated with zone information or event informa
     FIG . 13b illustrates an exemplary Data Screen 1304 of the 25 tion .
  Location and Tracking software used to manage conveyance             FIG . 17 illustrates an exemplary Big Buttons Screen 1700
  of tracking and zone information to specific users based on of the Location and Tracking software used to provide easy
  access codes . It is accessed by selecting the Data button access to key application commands while walking or
  included in the row of buttons 1302 displayed on the bottom driving
  of Data Screen 1304 , Zone Screen 1306 , Size Screen 1308 , 30 FIG . 18 illustrates an exemplary Map Viewer Web Page
  and About Screen 1310. Specifically , Data Screen 1304 is 1800 used for displaying maps and other information con
  used to set access codes and to associate email addresses and veyed by the Location and Tracking software.
  phone alerts with zones .                                            FIG . 19 illustrates an exemplary Contact Viewer Web
     FIG . 13c illustrates an exemplary Zone Screen 1306 of the Page 1900 used for displaying contact information conveyed
  Location and Tracking software used to define user - defined 35 by the Location and Tracking software.
  zones . It is accessed by selecting the Zone button included         FIG . 20 illustrates an exemplary web page -based display
  in the row of buttons 1302 displayed on the bottom of Data of a map 2000 overlaid with GPS tracking and zone infor
  Screen 1304 , Zone Screen 1306 , Size Screen 1308 , and mation conveyed by the Location and Tracking software. In
  About Screen 1310. The Zone Screen is used to define a FIG . 20 , balloon icons labeled alphabetically that indicate
  zone and / or to load a zone defined by another user. A user 40 logged locations of a user for which information is available .
  can use the Zone Screen to control whether zone information Also shown are two zones represented by rectangles. When
  is shared ( i.e. , made public ) to other users and to control a given balloon is selected , information is displayed, for
  whether the TRACKING mode is on or off.                            example , as shown in the information box in the center of the
     FIG . 13d illustrates an exemplary Size Screen 1308 of the map corresponding to the balloon labeled F. Similarly,
  Location and Tracking software used to manage the size and 45 information is displayed corresponding to either of the zones
  other characteristics of a displayed map . It is accessed by when either is selected .
  selecting the Size button included in the row ofbuttons 1302         FIG . 21 illustrates an exemplary web page for creation of
  displayed on the bottom of Data Screen 1304 , Zone Screen zones 2100 that can be used with the Location and Tracking
  1306 , Size Screen 1308 , and About Screen 1310. The Size software. As shown in FIG . 21 , a zone is created by selecting
  Screen 1308 is used to set the scale ( or zoom) of the map , 50 a first point on a map indicated by a first balloon and
  to turn on or off the display of zone boundaries, and to dragging to another point on a map indicated by a second
  control auto centering of maps .                                   balloon where the two points correspond to opposite corners
     FIG . 13e illustrates an exemplary About Screen 1310 of of a rectangle representing the user -defined zone boundary .
  the Location and Tracking software used to provide a notice          FIG . 22 illustrates an exemplary map displayed on a web
  concerning Tracking Privacy Issues , software version infor- 55 page 2200 depicting logging of user location information
  mation , and copyright information. is accessed by select while a user is within a zone and logging of user location
  ing the About button included in the row of buttons 1302 information when a user enters or leaves a zone . As depicted
  displayed on the bottom of Data Screen 1304 , Zone Screen in FIG . 22 , one type of zone 2202 provides user location
  1306 , Size Screen 1308 , and About Screen 1310 .                  information periodically while a user is within the zone .
    The row of buttons 1302 displayed on the bottom of Data 60 Another type of zone 2204 only provides user location
  Screen 1304 , Zone Screen 1306 , Size Screen 1308 , and            information when the user enters or exits the zone .
  About Screen 1310 also includes a Close button that when       FIG . 23 illustrates an exemplary map displayed on a web
  selected returns the user to the Main Screen 900 .          page 2300 depicting a picture associated with a location of
     FIG . 14 illustrates an exemplary Group Screen 1400 of a user . As shown in FIG . 23 , a balloon labeled F corresponds
  the Location and Tracking software used to manage infor- 65 to a location of a user . An information package consisting of
  mation corresponding to groups of contacts. The Group a picture that has been associated with the user's location is
  Screen 1400 is used to add or remove users from a stored           available as part of the information displayed when the



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  balloon is selected . In the information window is a thumb           ( g ) conveying the event notifications only to the one or
  nail of the picture which when selected displays the fully              more recipients on the access list after determining that
  enlarged picture.                                                       the event condition is met.
    The Location and Tracking software described herein was        2. The method of claim 1 further including the step of
  provided as an example of the types of applications that are 5 checking the second level of administrative privilege under
  enabled by the present invention. While particular embodi a first level of access control before receiving the event
  ments and several exemplary applications (or implementa             condition, wherein the first level of access control is based
  tions ) of the invention have been described , it will be           on a group administrator ID that identifies the group admin
  understood , however, that the invention is not limited istrator in the DB .
  thereto , since modifications may be made by those skilled in 10 3. The method of claim 2 further including the step of
  the art, particularly in light of the foregoing teachings . It is , checking the third level of administrative privilege under a
  therefore, contemplated by the appended claims to cover any        second level of access control before receiving the event
  such modifications that incorporate those features or those
                                                          condition, wherein the second level of access control is
  improvements which embody the spirit and scope of the based on a sub -group administrator ID that identifies the
  present invention .                                  15 sub - group administrator in the DB .
                                                                       4. The method of claim 1 , wherein the event condition is
    The invention claimed is :                                      received from a computing devices associated with a user in
     1. A method executed by one or more servers, which are         the group or subgroup .
  configured by a tracking application software for controlling        5. The method of claim 1 , wherein the event notification
  conveyance of event notifications in a tracking service, the 20 contains a determined location and an event ID which
  tracking application software configuring the one or more          identifies the group or the sub - group event in the DB .
  servers to track locations of mobile objects and convey the           6. The method of claim 5 , wherein the user in the group
  event notifications based on event conditions met at the or subgroup is allowed to specify the event ID in the DB .
  locations of the mobile objects, wherein the locations of the       7. The method of claim 5 , wherein the first administrator
  mobile objects are determined based on information 25 specifies the event ID in the DB .
  received from wireless location information sources ( LISs ) ,      8. The method of claim 1 , where the event condition is
  the method comprising:                                           met based on a determined location relative to a zone , and
     (a ) using a first computing device in a first network of wherein the event notification contains a zone ID in the DB
         computing devices of the tracking service to cause that identifies the zone .
         transmission of a request to configure the tracking 30 9. The method of claim 8 , wherein a user in the group or
         application software by a first administrator of the subgroup specifies the zone ID in the DB .
         tracking service having a first administrator ID             10. The method of claim 8 , wherein the first administrator
         included in the request, the first administrator having a specifies the zone ID in the DB .
         first level of administrative privilege including a privi    11. The method of claim 1 , wherein the event condition is
         lege to define groups and control access to authorized 35 based on a sensor measurement, and wherein the event
       user accounts of users of the tracking service in the        notification contain an information package including an
       groups, wherein a group has a group administrator who        image or a video conveyed after the event condition is met
       is a user having a group administrator account in the        based on the sensor measurement.
        tracking service;                                         12. The method of claim 1 , wherein the event condition is
    ( b ) receiving an authorization of the request from a 40 based on a sensor measurement, wherein the event notifi
         second computing device in a second network of com    cation contains the sensor measurement.
         puting devices including one or more servers config      13. The method of claim 12 , wherein the sensor measure
         ured by the tracking application software to access a ment is speed .
       database (DB ) maintained by a second administrator of     14. The method of claim 1 , wherein a recipient includes
       the second network who grants access to the DB based 45 a user of the group or sub - group having an authorized user
         on the transmitted first administrator ID included in the account, and wherein the event notification is conveyed after
       request;                                                     giving access to the authorized user account under a third
    (c ) using the first level of administrative privilege to 1 ) level of access control that is based on a user ID that
         identify the group by a group identification code (ID ) in identifies the user in the DB .
         the DB and 2 ) control access to the group administrator 50 15. The method of claim 1 , the event condition is met
         account,                                                   based on proximity of a determined location to a boundary
    ( d ) granting access to the group administrator account or another device .
         before giving a second level of administrative privilege      16. The method of claim 1 , wherein the event notification
       to the group administrator to identify, in the DB , a is conveyed under a first level of access control that is based
       sub - group within the group and a user who is a sub- 55 on the first administrator ID , a second level of control that
       group administrator for the sub -group having a sub      is based on a group administrator ID that identifies the group
        group administrator account in the tracking service;        administrator in the DB and a third level of access control
    (e ) granting access to the sub -group administrator account    that is based on the access list .
        before giving a third level of administrative privilege to     17. The method of claim 16 , wherein the first mobile
        the sub -group administrator to identify one or more 60 object is a device used by a driver of a vehicle having a
        authorized users of the sub -group in the DB ;              driver account in the tracking service, wherein the event
    ( f) receiving 1 ) one or more event conditions for occur notification is conveyed to the device under a fourth level of
        rence of a group event that is met at determined access control that is based on a driver ID that identifies the
        locations of a first mobile object and a second mobile driver in the DB .
        object and 2 ) an access list that identifies one or more 65 18. The method of claim 17 , wherein the method further
        recipients of an event notification after the group event includes receiving a log in request from the device contain
        occurs; and                                                 ing the driver ID , granting access having the driver account


                                                                                                                               Exhibit F
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                             25                                      26
  before receiving edits to a log file that contains a movement
  and a non -movement of the vehicle.
     19. The method of claim 18 , wherein the log file contains
  a determined location where the vehicle is powered on .
     20. The method of claim 16 , wherein the first mobile 5
  object is a device used by a driver of a vehicle, wherein the
  event condition is based on proximity of the driver to the
  vehicle as determined bases on a received signal strength
  from a Bluetooth , a RFID or an NFC device .
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                                                                              Exhibit F
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